          Case 1:23-cr-10159-IT Document 77-7 Filed 07/17/23 Page 1 of 3




                       UNITED STATES DISTRICT COURT

                         DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                    )
                                            )
     v.                                     ) CRIMINAL NO. 23-CR-10159
                                            )
JACK DOUGLAS TEIXEIRA                       )

                    DEFENDANT JACK DOUGLAS TEIXEIRA’S
                           DETENTION APPEAL




                                     Exhibit 7

                                Birchum Conditions

                          United States v. Robert Birchum

                               23-CR-32-KKM-TGW
Case 8:23-cr-00032-KKM-TGW
        Case 1:23-cr-10159-IT Document 13
                                       77-7Filed
                                              Filed
                                                  02/21/23
                                                    07/17/23Page
                                                              Page
                                                                 1 of
                                                                   2 of
                                                                      2 PageID
                                                                        3      38



                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

                                  CLERK’S MINUTES

Case No. 8:23-cr-32-KKM-TGW                           Date: FEBRUARY 21, 2023

HONORABLE THOMAS G. WILSON

UNITED STATES OF AMERICA                              AUSA CHERIE KRIGSMAN
-v-
ROBERT BIRCHUM                                        RET ERIC ROPER ESQ.

Deputy Clerk: Amanda Craig                            Time: 2:44-3:36 (52 min.)
Court Reporter: N/A                                   Courtroom 12A
Interpreter: N/A                                      Tape: Digital

PROCEEDINGS: INITIAL APPEARANCE-CHANGE OF PLEA HEARING-
BOND HEARING
( X ) Defendant sworn
( X ) Plea agreement filed
( X)   Counsel advised of Brady obligations under Due Process Protections Act
( X ) Waiver of indictment accepted
( X ) Plea of guilty entered as to Count One of the Information
( X ) Government to file three-level downward adjustment for acceptance of
      responsibility assuming defendant eligible and no adverse information received

( X ) Factual basis established
( X ) Court to recommend that guilty pleas be accepted
( X ) Referred to probation for pre-sentence investigation
( X ) Sentencing to be scheduled before Judge Kathryn K. Mizelle
( X ) Bond/Detention:
            Government: Requests defendant to be released on conditions
       recommended in the Pretrial Service report.
                                                                           DEFENDANT
             Defendant: Does not object to conditions recommended.          EXHIBIT


                                                                                7
Case 8:23-cr-00032-KKM-TGW
        Case 1:23-cr-10159-IT Document 13
                                       77-7Filed
                                              Filed
                                                  02/21/23
                                                    07/17/23Page
                                                              Page
                                                                 2 of
                                                                   3 of
                                                                      2 PageID
                                                                        3      39




             Court: Defendant to be released on his own recognizance with conditions of
      release. Order to be filed.
( X ) Defendant to report to the USMS for processing and then will be released from
      there upon the completion of bond paperwork.
